                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 1 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 1
 Pesticide Group:               1,3-Dichloropropene
 Endangered Species That May Be Affected by This Chemical

 Taxa              Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Amphibians     Wyoming toad                                             Bufo baxteri
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 2 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                         Page 2
 Pesticide Group:               2,4-D, salts and esters
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Amphibians     Wyoming toad                                             Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Kauai Cave Amphipod                                      Spelaeorchestia koloana
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                      Salmo salar pop. 5
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)         Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                          Puma concolor coryi
Mammals        Florida salt marsh vole                                  Microtus pennsylvanicus dukecampbelli
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 3 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                           Page 3
 Pesticide Group:                 2,4-D, salts and esters
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 4 of 100
           Exhibit A: Species Listed by Pesticide Group                                                     Page 4
 Pesticide Group:             2,4-D, salts and esters
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                   Latin Name
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 5 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 5
 Pesticide Group:               Acephate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 6 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                           Page 6
 Pesticide Group:                 Acephate
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 7 of 100
           Exhibit A: Species Listed by Pesticide Group                                Page 7
 Pesticide Group:             Acephate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 8 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 8
 Pesticide Group:               Alachlor
 Endangered Species That May Be Affected by This Chemical

 Taxa              Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 9 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 9
 Pesticide Group:               Aldicarb
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Amphibians     Wyoming toad                                             Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 10 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 10
 Pesticide Group:                 Aldicarb
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 11 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 11
 Pesticide Group:             Aldicarb
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 12 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                         Page 12
 Pesticide Group:               Atrazine
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        Salt Creek tiger beetle                                  Cicindela nevadica lincolniana
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)         Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                          Puma concolor coryi
Mammals        Florida salt marsh vole                                  Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                      Dipodomys nitratoides exilis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 13 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                           Page 13
 Pesticide Group:                 Atrazine
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 14 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 14
 Pesticide Group:               Bensulide
 Endangered Species That May Be Affected by This Chemical

 Taxa              Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 15 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 15
 Pesticide Group:               Brodifacoum
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                          Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Amphibians     Wyoming toad                                                       Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 16 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                   Page 16
 Pesticide Group:              Brodifacoum
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                    Latin Name
Mammals         Key Largo cotton mouse                                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                        Ursus americanus luteolus
Mammals         Lower keys rabbit                                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                      Dipodomys heermanni morroensis
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse                               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 17 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 17
 Pesticide Group:               Bromadiolone
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 18 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                         Page 18
 Pesticide Group:               Bromethalin
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Amphibians     Wyoming toad                                             Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Kauai Cave Amphipod                                      Spelaeorchestia koloana
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                      Salmo salar pop. 5
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)         Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                          Puma concolor coryi
Mammals        Florida salt marsh vole                                  Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                      Dipodomys nitratoides exilis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 19 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                          Page 19
 Pesticide Group:              Bromethalin
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 20 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 20
 Pesticide Group:               Captan
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals        Ocelot                                                             Leopardus pardalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 21 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 21
 Pesticide Group:                 Captan
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 22 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 22
 Pesticide Group:               Carbaryl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                      Salmo salar pop. 5
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 23 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 23
 Pesticide Group:                 Carbaryl
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 24 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 24
 Pesticide Group:             Carbaryl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 25 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 25
 Pesticide Group:               Chlorophacinone
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                          Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Amphibians     Wyoming toad                                                       Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 26 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                   Page 26
 Pesticide Group:              Chlorophacinone
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                    Latin Name
Mammals         Key Largo cotton mouse                                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                        Ursus americanus luteolus
Mammals         Lower keys rabbit                                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                      Dipodomys heermanni morroensis
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse                               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 27 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 27
 Pesticide Group:               Chlorothalonil
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 28 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                    Page 28
 Pesticide Group:                 Chlorothalonil
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                    Latin Name
Mammals         Key Largo cotton mouse                                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                        Ursus americanus luteolus
Mammals         Lower keys rabbit                                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                      Dipodomys heermanni morroensis
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse                               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Mollusks        Alabama moccasinshell                                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                                           Elliptio chipolaensis
Mollusks        Clubshell                                                   Pleurobema clava
Mollusks        Coosa moccasinshell                                         Medionidus parvulus
Mollusks        Cumberlandian combshell                                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                           Alasmidonta heterodon
Mollusks        Fat threeridge                                              Amblema neislerii
Mollusks        Finelined pocketbook                                        Lampsilis altilis
Mollusks        Gulf moccasinshell                                          Medionidus penicillatus
Mollusks        Heavy pigtoe                                                Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                     Pegias fabula
Mollusks        Northern riffleshell                                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                                 Pleurobema pyriforme
Mollusks        Oyster mussel                                               Epioblasma capsaeformis
Mollusks        Pink mucket                                                 Lampsilis abrupta
Mollusks        Purple bankclimber                                          Elliptoideus sloatianus
Mollusks        Purple bean                                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                          Pleurobema decisum
Mollusks        Southern combshell                                          Epioblasma penita
Mollusks        Southern pigtoe                                             Pleurobema georgianum
Mollusks        Stirrup shell                                               Quadrula stapes
Mollusks        Tan riffleshell                                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                      Ptychobranchus greenii
Mollusks        Upland combshell                                            Epioblasma metastriata
Mollusks        Winged mapleleaf                                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 29 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                         Page 29
 Pesticide Group:               Chlorpyrifos
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        Salt Creek tiger beetle                                  Cicindela nevadica lincolniana
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)         Odocoileus virginianus leucurus (Columbia River DPS)
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 30 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                           Page 30
 Pesticide Group:                 Chlorpyrifos
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 31 of 100
           Exhibit A: Species Listed by Pesticide Group                             Page 31
 Pesticide Group:             Chlorpyrifos
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 32 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 32
 Pesticide Group:               Cypermethrin
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                          Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                          Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Kauai Cave Amphipod                                                Spelaeorchestia koloana
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kauai Cave Wolf Spider                                             Adelocosa anops
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 33 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 33
 Pesticide Group:                 Cypermethrin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Heavy pigtoe                                Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern combshell                          Epioblasma penita
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Stirrup shell                               Quadrula stapes
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 34 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                         Page 34
 Pesticide Group:               Dazomet
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Amphibians     Wyoming toad                                             Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Kauai Cave Amphipod                                      Spelaeorchestia koloana
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                      Salmo salar pop. 5
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)         Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                          Puma concolor coryi
Mammals        Florida salt marsh vole                                  Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                      Dipodomys nitratoides exilis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 35 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                          Page 35
 Pesticide Group:              Dazomet
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 36 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 36
 Pesticide Group:               Diazinon
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 37 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 37
 Pesticide Group:                Diazinon
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Indiana bat                                 Myotis sodalis
Mammals         Key Largo cotton mouse                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 38 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 38
 Pesticide Group:               Dicamba and salts
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals        Ocelot                                                             Leopardus pardalis
Mammals        Preble's meadow jumping mouse                                      Zapus hudsonius preblei
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 39 of 100
           Exhibit A: Species Listed by Pesticide Group                                                             Page 39
 Pesticide Group:              Dicamba and salts
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                    Latin Name
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 40 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 40
 Pesticide Group:               Dichlorprop (2,4-DP), salts and esters
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 41 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 41
 Pesticide Group:               Dimethoate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        Salt Creek tiger beetle                                  Cicindela nevadica lincolniana
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 42 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 42
 Pesticide Group:                 Dimethoate
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 43 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 43
 Pesticide Group:              Dimethoate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 44 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 44
 Pesticide Group:               Diphacinone and salts
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 45 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 45
 Pesticide Group:               Diuron
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 46 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 46
 Pesticide Group:                 Diuron
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Key Largo woodrat                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Heavy pigtoe                                Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern combshell                          Epioblasma penita
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Stirrup shell                               Quadrula stapes
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 47 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 47
 Pesticide Group:                Ethoprop
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Amphibians      Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians      Reticulated flatwoods salamander                                   Ambystoma bishopi
Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish            Blue shiner                                                        Cyprinella caerulea
Fish            Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish            Cape Fear shiner                                                   Notropis mekistocholas
Fish            Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish            North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish            Shortnose sturgeon                                                 Acipenser brevirostrum
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 48 of 100
           Exhibit A: Species Listed by Pesticide Group                                                     Page 48
 Pesticide Group:             Ethoprop
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                   Latin Name
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 49 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 49
 Pesticide Group:               Malathion
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                        Glaucomys sabrinus coloratus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 50 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 50
 Pesticide Group:                 Malathion
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 51 of 100
           Exhibit A: Species Listed by Pesticide Group                                 Page 51
 Pesticide Group:             Malathion
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 52 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 52
 Pesticide Group:               Mancozeb
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 53 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                    Page 53
 Pesticide Group:                 Mancozeb
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                    Latin Name
Mammals         Key Largo woodrat                                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                        Ursus americanus luteolus
Mammals         Lower keys rabbit                                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                      Dipodomys heermanni morroensis
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse                               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Mollusks        Alabama moccasinshell                                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                                           Elliptio chipolaensis
Mollusks        Clubshell                                                   Pleurobema clava
Mollusks        Coosa moccasinshell                                         Medionidus parvulus
Mollusks        Cumberlandian combshell                                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                           Alasmidonta heterodon
Mollusks        Fat threeridge                                              Amblema neislerii
Mollusks        Finelined pocketbook                                        Lampsilis altilis
Mollusks        Gulf moccasinshell                                          Medionidus penicillatus
Mollusks        Heavy pigtoe                                                Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                     Pegias fabula
Mollusks        Northern riffleshell                                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                                 Pleurobema pyriforme
Mollusks        Oyster mussel                                               Epioblasma capsaeformis
Mollusks        Pink mucket                                                 Lampsilis abrupta
Mollusks        Purple bankclimber                                          Elliptoideus sloatianus
Mollusks        Purple bean                                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                          Pleurobema decisum
Mollusks        Southern combshell                                          Epioblasma penita
Mollusks        Southern pigtoe                                             Pleurobema georgianum
Mollusks        Stirrup shell                                               Quadrula stapes
Mollusks        Tan riffleshell                                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                      Ptychobranchus greenii
Mollusks        Upland combshell                                            Epioblasma metastriata
Mollusks        Winged mapleleaf                                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 54 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 54
 Pesticide Group:                MCPA, salts and esters
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Amphibians      Arroyo toad                                                        Bufo californicus
Amphibians      California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians      California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians      Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians      Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians      Wyoming toad                                                       Bufo baxteri
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Crustaceans     Conservancy fairy shrimp                                           Branchinecta conservatio
Fish            Bonytail chub                                                      Gila elegans
Fish            Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish            Colorado pikeminnow                                                Ptychocheilus lucius
Fish            Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish            North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish            Razorback sucker                                                   Xyrauchen texanus
Fish            Santa Ana sucker                                                   Catostomus santaanae
Fish            Topeka shiner                                                      Notropis topeka
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Giant garter snake                                                 Thamnophis gigas
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 55 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 55
 Pesticide Group:               Methomyl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 56 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 56
 Pesticide Group:                 Methomyl
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 57 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 57
 Pesticide Group:             Methomyl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 58 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 58
 Pesticide Group:               Metolachlor and isomers
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 59 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 59
 Pesticide Group:              Metolachlor and isomers
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                    Latin Name
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 60 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 60
 Pesticide Group:               Metribuzin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 61 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                               Page 61
 Pesticide Group:               Naled
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Bonytail chub                                                      Gila elegans
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 62 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 62
 Pesticide Group:                Naled
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                   Latin Name
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 63 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 63
 Pesticide Group:               Oxydemeton-Methyl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 64 of 100
           Exhibit A: Species Listed by Pesticide Group                                                   Page 64
 Pesticide Group:              Oxydemeton-Methyl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                    Latin Name
Mammals         Killer whale (southern resident DPS)        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 65 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 65
 Pesticide Group:                Oxyfluorfen
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Amphibians      Arroyo toad                                                        Bufo californicus
Amphibians      California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians      California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians      Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians      Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians      Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians      Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians      Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians      San Marcos salamander                                              Eurycea nana
Amphibians      Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians      Texas Blind Salamander                                             Eurycea rathbuni
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans     Conservancy fairy shrimp                                           Branchinecta conservatio
Fish            Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish            Blue shiner                                                        Cyprinella caerulea
Fish            Bonytail chub                                                      Gila elegans
Fish            Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish            Cape Fear shiner                                                   Notropis mekistocholas
Fish            Colorado pikeminnow                                                Ptychocheilus lucius
Fish            Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish            Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish            North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish            Razorback sucker                                                   Xyrauchen texanus
Fish            Santa Ana sucker                                                   Catostomus santaanae
Fish            Shortnose sturgeon                                                 Acipenser brevirostrum
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 66 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 66
 Pesticide Group:             Oxyfluorfen
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 67 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 67
 Pesticide Group:               Paraquat dichloride
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 68 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 68
 Pesticide Group:                 Paraquat dichloride
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Indiana bat                                 Myotis sodalis
Mammals         Key Largo cotton mouse                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Heavy pigtoe                                Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern combshell                          Epioblasma penita
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Stirrup shell                               Quadrula stapes
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 69 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                     Page 69
 Pesticide Group:                Pendimethalin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                 Latin Name

Amphibians      Arroyo toad                                              Bufo californicus
Amphibians      California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians      California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians      Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians      Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians      Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians      Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians      Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians      San Marcos salamander                                    Eurycea nana
Amphibians      Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians      Shenandoah Salamander                                    Plethodon shenandoah
Amphibians      Texas Blind Salamander                                   Eurycea rathbuni
Birds           Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                        Gymnogyps californianus
Birds           California least tern                                    Sterna antillarum browni
Birds           Coastal California gnatcatcher                           Polioptila californica californica
Birds           Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds           Florida scrub jay                                        Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds           Northern spotted owl                                     Strix occidentalis caurina
Birds           Piping plover                                            Charadrius melodus
Birds           Southwestern willow flycatcher                           Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans     Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans     Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans     Nashville crayfish                                       Orconectes shoupi
Fish            Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish            Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish            Blue shiner                                              Cyprinella caerulea
Fish            Bonytail chub                                            Gila elegans
Fish            Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish            Cape Fear shiner                                         Notropis mekistocholas
Fish            Colorado pikeminnow                                      Ptychocheilus lucius
Fish            Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish            Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish            North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish            Razorback sucker                                         Xyrauchen texanus
Fish            Santa Ana sucker                                         Catostomus santaanae
Fish            Shortnose sturgeon                                       Acipenser brevirostrum
Fish            Topeka shiner                                            Notropis topeka
Fish            Vermilion darter                                         Etheostoma chermocki
Mollusks        Alabama moccasinshell                                    Medionidus acutissimus
Mollusks        Appalachian Elktoe                                       Alasmidonta raveneliana
Mollusks        Chipola slabshell                                        Elliptio chipolaensis
Mollusks        Clubshell                                                Pleurobema clava
Mollusks        Coosa moccasinshell                                      Medionidus parvulus
Mollusks        Cumberlandian combshell                                  Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                        Alasmidonta heterodon
Mollusks        Fat threeridge                                           Amblema neislerii
Mollusks        Finelined pocketbook                                     Lampsilis altilis
Mollusks        Gulf moccasinshell                                       Medionidus penicillatus
Mollusks        Heavy pigtoe                                             Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                 Lampsilis higginsii
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 70 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 70
 Pesticide Group:                 Pendimethalin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                   Latin Name
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern combshell                          Epioblasma penita
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Stirrup shell                               Quadrula stapes
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 71 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                     Page 71
 Pesticide Group:                Permethrin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                 Latin Name

Amphibians      Arroyo toad                                              Bufo californicus
Amphibians      California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians      California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians      Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians      Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians      Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians      Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians      San Marcos salamander                                    Eurycea nana
Amphibians      Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians      Shenandoah Salamander                                    Plethodon shenandoah
Amphibians      Texas Blind Salamander                                   Eurycea rathbuni
Crustaceans     Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans     Nashville crayfish                                       Orconectes shoupi
Fish            Atlantic salmon (Gulf of Maine DPS)                      Salmo salar pop. 5
Fish            Blue shiner                                              Cyprinella caerulea
Fish            Bonytail chub                                            Gila elegans
Fish            Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish            Cape Fear shiner                                         Notropis mekistocholas
Fish            Colorado pikeminnow                                      Ptychocheilus lucius
Fish            Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish            Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish            North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish            Razorback sucker                                         Xyrauchen texanus
Fish            Santa Ana sucker                                         Catostomus santaanae
Fish            Shortnose sturgeon                                       Acipenser brevirostrum
Fish            Topeka shiner                                            Notropis topeka
Insects         American burying beetle                                  Nicrophorus americanus
Insects         Behren's fritillary                                      Speyeria zerene behrensii
Insects         Callippe silverspot                                      Speyeria callippe callippe
Insects         Kern primrose sphinx moth                                Euproserpinus euterpe
Insects         Lange's metalmark                                        Apodemia mormo langei
Insects         Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects         Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects         Ohlone tiger beetle                                      Cicindela ohlone
Insects         Salt Creek tiger beetle                                  Cicindela nevadica lincolniana
Insects         San Bruno elfin                                          Callophrys mossii bayensis
Mollusks        Alabama moccasinshell                                    Medionidus acutissimus
Mollusks        Appalachian Elktoe                                       Alasmidonta raveneliana
Mollusks        Chipola slabshell                                        Elliptio chipolaensis
Mollusks        Clubshell                                                Pleurobema clava
Mollusks        Coosa moccasinshell                                      Medionidus parvulus
Mollusks        Cumberlandian combshell                                  Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                        Alasmidonta heterodon
Mollusks        Fat threeridge                                           Amblema neislerii
Mollusks        Finelined pocketbook                                     Lampsilis altilis
Mollusks        Gulf moccasinshell                                       Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                 Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                  Pegias fabula
Mollusks        Northern riffleshell                                     Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                Medionidus simpsonianus
Mollusks        Oval pigtoe                                              Pleurobema pyriforme
Mollusks        Oyster mussel                                            Epioblasma capsaeformis
Mollusks        Pink mucket                                              Lampsilis abrupta
Mollusks        Purple bankclimber                                       Elliptoideus sloatianus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 72 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 72
 Pesticide Group:                 Permethrin
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                   Latin Name
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 73 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 73
 Pesticide Group:               Phorate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                  Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                    Plethodon shenandoah
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                      Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Crustaceans    Nashville crayfish                                       Orconectes shoupi
Fish           Alabama cavefish                                         Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish           Blue shiner                                              Cyprinella caerulea
Fish           Bonytail chub                                            Gila elegans
Fish           Bull trout (U.S. DPS)                                    Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                         Notropis mekistocholas
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Fish           Topeka shiner                                            Notropis topeka
Fish           Vermilion darter                                         Etheostoma chermocki
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Mitchell's satyr butterfly                               Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        Salt Creek tiger beetle                                  Cicindela nevadica lincolniana
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Black-footed ferret                                      Mustela nigripes
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 74 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 74
 Pesticide Group:                 Phorate
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Cumberlandian combshell                                            Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Heavy pigtoe                                                       Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
Mollusks        Purple bean                                                        Villosa perpurpurea
Mollusks        Rough pigtoe                                                       Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                              Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                                 Pleurobema decisum
Mollusks        Southern combshell                                                 Epioblasma penita
Mollusks        Southern pigtoe                                                    Pleurobema georgianum
Mollusks        Stirrup shell                                                      Quadrula stapes
Mollusks        Tan riffleshell                                                    Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                             Ptychobranchus greenii
Mollusks        Upland combshell                                                   Epioblasma metastriata
Mollusks        Winged mapleleaf                                                   Quadrula fragosa
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 75 of 100
           Exhibit A: Species Listed by Pesticide Group                                             Page 75
 Pesticide Group:             Phorate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                   Latin Name
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 76 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 76
 Pesticide Group:               Phosmet
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 77 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                    Page 77
 Pesticide Group:                 Phosmet
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                    Latin Name
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Mollusks        Alabama moccasinshell                                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                                          Alasmidonta raveneliana
Mollusks        Clubshell                                                   Pleurobema clava
Mollusks        Coosa moccasinshell                                         Medionidus parvulus
Mollusks        Cumberlandian combshell                                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                           Alasmidonta heterodon
Mollusks        Fat threeridge                                              Amblema neislerii
Mollusks        Finelined pocketbook                                        Lampsilis altilis
Mollusks        Gulf moccasinshell                                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                     Pegias fabula
Mollusks        Northern riffleshell                                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                                 Pleurobema pyriforme
Mollusks        Oyster mussel                                               Epioblasma capsaeformis
Mollusks        Pink mucket                                                 Lampsilis abrupta
Mollusks        Purple bankclimber                                          Elliptoideus sloatianus
Mollusks        Purple bean                                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                          Pleurobema decisum
Mollusks        Southern pigtoe                                             Pleurobema georgianum
Mollusks        Tan riffleshell                                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                      Ptychobranchus greenii
Mollusks        Upland combshell                                            Epioblasma metastriata
Mollusks        Winged mapleleaf                                            Quadrula fragosa
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 78 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                               Page 78
 Pesticide Group:               Profenofos
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals        Ocelot                                                             Leopardus pardalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 79 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 79
 Pesticide Group:                 Profenofos
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern combshell                          Epioblasma penita
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Stirrup shell                               Quadrula stapes
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 80 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                     Page 80
 Pesticide Group:                Propanil
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                 Latin Name

Amphibians      Arroyo toad                                              Bufo californicus
Amphibians      California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians      California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians      Mississippi gopher frog (DPS)                            Rana sevosa
Amphibians      Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians      San Marcos salamander                                    Eurycea nana
Amphibians      Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians      Texas Blind Salamander                                   Eurycea rathbuni
Birds           California condor                                        Gymnogyps californianus
Birds           California least tern                                    Sterna antillarum browni
Birds           Coastal California gnatcatcher                           Polioptila californica californica
Birds           Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds           Northern spotted owl                                     Strix occidentalis caurina
Birds           Piping plover                                            Charadrius melodus
Birds           Southwestern willow flycatcher                           Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans     Conservancy fairy shrimp                                 Branchinecta conservatio
Fish            Alabama sturgeon                                         Scaphirhynchus suttkusi
Fish            Bonytail chub                                            Gila elegans
Fish            Colorado pikeminnow                                      Ptychocheilus lucius
Fish            Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish            Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish            North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish            Razorback sucker                                         Xyrauchen texanus
Fish            Santa Ana sucker                                         Catostomus santaanae
Fish            Topeka shiner                                            Notropis topeka
Mammals         Amargosa vole                                            Microtus californicus scirpensis
Mammals         Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals         Fresno kangaroo rat                                      Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                       Dipodomys ingens
Mammals         Gray bat                                                 Myotis grisescens
Mammals         Indiana bat                                              Myotis sodalis
Mammals         Killer whale (southern resident DPS)                     Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                     Ursus americanus luteolus
Mammals         Morro Bay kangaroo rat                                   Dipodomys heermanni morroensis
Mammals         Ocelot                                                   Leopardus pardalis
Mammals         Riparian brush rabbit                                    Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                   Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                      Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                   Dipodomys stephensi
Mammals         Tipton kangaroo rat                                      Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                      Trichechus manatus
Mollusks        Alabama moccasinshell                                    Medionidus acutissimus
Mollusks        Cumberlandian combshell                                  Epioblasma brevidens
Mollusks        Higgins eye pearlymussel                                 Lampsilis higginsii
Mollusks        Pink mucket                                              Lampsilis abrupta
Mollusks        Southern clubshell                                       Pleurobema decisum
Mollusks        Southern combshell                                       Epioblasma penita
Mollusks        Stirrup shell                                            Quadrula stapes
Mollusks        Winged mapleleaf                                         Quadrula fragosa
Reptiles        Blunt-nosed leopard lizard                               Gambelia sila
Reptiles        Desert tortoise (Mojave DPS)                             Gopherus agassizii pop. 1
Reptiles        Giant garter snake                                       Thamnophis gigas
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 81 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 81
 Pesticide Group:               Propargite
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals        Ocelot                                                             Leopardus pardalis
Mammals        Preble's meadow jumping mouse                                      Zapus hudsonius preblei
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 82 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 82
 Pesticide Group:                 Propargite
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                   Latin Name
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 83 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                               Page 83
 Pesticide Group:               S,S,S-tributyl phosphorotrithioate
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Insects        American burying beetle                                            Nicrophorus americanus
Insects        Behren's fritillary                                                Speyeria zerene behrensii
Insects        Callippe silverspot                                                Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                          Euproserpinus euterpe
Insects        Lange's metalmark                                                  Apodemia mormo langei
Insects        Myrtle's silverspot                                                Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                                Cicindela ohlone
Insects        San Bruno elfin                                                    Callophrys mossii bayensis
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 84 of 100
           Exhibit A: Species Listed by Pesticide Group                                                               Page 84
 Pesticide Group:                 S,S,S-tributyl phosphorotrithioate
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                               Latin Name
Mammals         Killer whale (southern resident DPS)                   Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                   Ursus americanus luteolus
Mammals         Morro Bay kangaroo rat                                 Dipodomys heermanni morroensis
Mammals         Ocelot                                                 Leopardus pardalis
Mammals         Riparian brush rabbit                                  Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                 Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                    Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                 Dipodomys stephensi
Mammals         Tipton kangaroo rat                                    Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                    Trichechus manatus
Mollusks        Alabama moccasinshell                                  Medionidus acutissimus
Mollusks        Appalachian Elktoe                                     Alasmidonta raveneliana
Mollusks        Chipola slabshell                                      Elliptio chipolaensis
Mollusks        Clubshell                                              Pleurobema clava
Mollusks        Coosa moccasinshell                                    Medionidus parvulus
Mollusks        Cumberlandian combshell                                Epioblasma brevidens
Mollusks        Dwarf wedgemussel                                      Alasmidonta heterodon
Mollusks        Fat threeridge                                         Amblema neislerii
Mollusks        Finelined pocketbook                                   Lampsilis altilis
Mollusks        Gulf moccasinshell                                     Medionidus penicillatus
Mollusks        Heavy pigtoe                                           Pleurobema taitianum
Mollusks        Higgins eye pearlymussel                               Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                Pegias fabula
Mollusks        Ochlockonee moccasinshell                              Medionidus simpsonianus
Mollusks        Oval pigtoe                                            Pleurobema pyriforme
Mollusks        Oyster mussel                                          Epioblasma capsaeformis
Mollusks        Pink mucket                                            Lampsilis abrupta
Mollusks        Purple bankclimber                                     Elliptoideus sloatianus
Mollusks        Purple bean                                            Villosa perpurpurea
Mollusks        Rough pigtoe                                           Pleurobema plenum
Mollusks        Shinyrayed pocketbook                                  Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                                     Pleurobema decisum
Mollusks        Southern combshell                                     Epioblasma penita
Mollusks        Southern pigtoe                                        Pleurobema georgianum
Mollusks        Stirrup shell                                          Quadrula stapes
Mollusks        Tan riffleshell                                        Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                                 Ptychobranchus greenii
Mollusks        Upland combshell                                       Epioblasma metastriata
Mollusks        Winged mapleleaf                                       Quadrula fragosa
Reptiles        Blunt-nosed leopard lizard                             Gambelia sila
Reptiles        Bog turtle (Northern DPS)                              Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                           Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                   Drymarchon couperi
Reptiles        Giant garter snake                                     Thamnophis gigas
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 85 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 85
 Pesticide Group:               Simazine
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals        Ocelot                                                             Leopardus pardalis
Mammals        Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals        Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 86 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 86
 Pesticide Group:                 Simazine
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 87 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                        Page 87
 Pesticide Group:                Terbufos
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Amphibians      Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians      Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians      San Marcos salamander                                              Eurycea nana
Amphibians      Texas Blind Salamander                                             Eurycea rathbuni
Amphibians      Wyoming toad                                                       Bufo baxteri
Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish            Blue shiner                                                        Cyprinella caerulea
Fish            Bonytail chub                                                      Gila elegans
Fish            Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish            Cape Fear shiner                                                   Notropis mekistocholas
Fish            Colorado pikeminnow                                                Ptychocheilus lucius
Fish            Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish            Razorback sucker                                                   Xyrauchen texanus
Fish            Shortnose sturgeon                                                 Acipenser brevirostrum
Fish            Topeka shiner                                                      Notropis topeka
Insects         American burying beetle                                            Nicrophorus americanus
Insects         Mitchell's satyr butterfly                                         Neonympha mitchellii mitchellii
Insects         Salt Creek tiger beetle                                            Cicindela nevadica lincolniana
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         West Indian manatee                                                Trichechus manatus
Mollusks        Alabama moccasinshell                                              Medionidus acutissimus
Mollusks        Appalachian Elktoe                                                 Alasmidonta raveneliana
Mollusks        Chipola slabshell                                                  Elliptio chipolaensis
Mollusks        Clubshell                                                          Pleurobema clava
Mollusks        Coosa moccasinshell                                                Medionidus parvulus
Mollusks        Dwarf wedgemussel                                                  Alasmidonta heterodon
Mollusks        Fat threeridge                                                     Amblema neislerii
Mollusks        Finelined pocketbook                                               Lampsilis altilis
Mollusks        Gulf moccasinshell                                                 Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                                           Lampsilis higginsii
Mollusks        Littlewing pearlymussel                                            Pegias fabula
Mollusks        Northern riffleshell                                               Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                                          Medionidus simpsonianus
Mollusks        Oval pigtoe                                                        Pleurobema pyriforme
Mollusks        Oyster mussel                                                      Epioblasma capsaeformis
Mollusks        Pink mucket                                                        Lampsilis abrupta
Mollusks        Purple bankclimber                                                 Elliptoideus sloatianus
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 88 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 88
 Pesticide Group:              Terbufos
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                    Latin Name
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 89 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                     Page 89
 Pesticide Group:               Thiobencarb
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                 Latin Name

Amphibians     Arroyo toad                                              Bufo californicus
Amphibians     California tiger salamander (Central California DPS)     Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)   Ambystoma californiense (Santa Barbara DPS)
Amphibians     Frosted flatwoods salamander                             Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)    Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                         Ambystoma bishopi
Amphibians     San Marcos salamander                                    Eurycea nana
Amphibians     Santa Cruz long-toed salamander                          Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                   Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                 Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                        Gymnogyps californianus
Birds          California least tern                                    Sterna antillarum browni
Birds          Coastal California gnatcatcher                           Polioptila californica californica
Birds          Florida grasshopper sparrow                              Ammodramus savannarum floridanus
Birds          Florida scrub jay                                        Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                     Rallus longirostris levipes
Birds          Northern spotted owl                                     Strix occidentalis caurina
Birds          Piping plover                                            Charadrius melodus
Birds          Southwestern willow flycatcher                           Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                       Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                           Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                 Branchinecta conservatio
Fish           Bonytail chub                                            Gila elegans
Fish           Colorado pikeminnow                                      Ptychocheilus lucius
Fish           Desert pupfish                                           Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                            Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)             Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                         Xyrauchen texanus
Fish           Santa Ana sucker                                         Catostomus santaanae
Fish           Shortnose sturgeon                                       Acipenser brevirostrum
Insects        American burying beetle                                  Nicrophorus americanus
Insects        Behren's fritillary                                      Speyeria zerene behrensii
Insects        Callippe silverspot                                      Speyeria callippe callippe
Insects        Kern primrose sphinx moth                                Euproserpinus euterpe
Insects        Lange's metalmark                                        Apodemia mormo langei
Insects        Myrtle's silverspot                                      Speyeria zerene myrtleae (sensu lato)
Insects        Ohlone tiger beetle                                      Cicindela ohlone
Insects        San Bruno elfin                                          Callophrys mossii bayensis
Mammals        Amargosa vole                                            Microtus californicus scirpensis
Mammals        Buena Vista Lake ornate shrew                            Sorex ornatus relictus
Mammals        Florida panther                                          Puma concolor coryi
Mammals        Florida salt marsh vole                                  Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                      Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                       Dipodomys ingens
Mammals        Gray bat                                                 Myotis grisescens
Mammals        Indiana bat                                              Myotis sodalis
Mammals        Key Largo cotton mouse                                   Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                        Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                     Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                     Ursus americanus luteolus
Mammals        Lower keys rabbit                                        Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                   Dipodomys heermanni morroensis
Mammals        Ocelot                                                   Leopardus pardalis
Mammals        Riparian brush rabbit                                    Sylvilagus bachmani riparius
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 90 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 90
 Pesticide Group:                Thiobencarb
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                    Latin Name
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 91 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 91
 Pesticide Group:               Thiophanate-methyl
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals        Key Largo woodrat                                                  Neotoma floridana smalli
Mammals        Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals        Louisiana black bear                                               Ursus americanus luteolus
Mammals        Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals        Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 92 of 100
           Exhibit A: Species Listed by Pesticide Group                                                    Page 92
 Pesticide Group:                 Thiophanate-methyl
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                    Latin Name
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Mollusks        Alabama moccasinshell                       Medionidus acutissimus
Mollusks        Appalachian Elktoe                          Alasmidonta raveneliana
Mollusks        Chipola slabshell                           Elliptio chipolaensis
Mollusks        Clubshell                                   Pleurobema clava
Mollusks        Coosa moccasinshell                         Medionidus parvulus
Mollusks        Cumberlandian combshell                     Epioblasma brevidens
Mollusks        Dwarf wedgemussel                           Alasmidonta heterodon
Mollusks        Fat threeridge                              Amblema neislerii
Mollusks        Finelined pocketbook                        Lampsilis altilis
Mollusks        Gulf moccasinshell                          Medionidus penicillatus
Mollusks        Higgins eye pearlymussel                    Lampsilis higginsii
Mollusks        Littlewing pearlymussel                     Pegias fabula
Mollusks        Northern riffleshell                        Epioblasma torulosa rangiana
Mollusks        Ochlockonee moccasinshell                   Medionidus simpsonianus
Mollusks        Oval pigtoe                                 Pleurobema pyriforme
Mollusks        Oyster mussel                               Epioblasma capsaeformis
Mollusks        Pink mucket                                 Lampsilis abrupta
Mollusks        Purple bankclimber                          Elliptoideus sloatianus
Mollusks        Purple bean                                 Villosa perpurpurea
Mollusks        Rough pigtoe                                Pleurobema plenum
Mollusks        Shinyrayed pocketbook                       Lampsilis subangulata or Hamiota subangulata
Mollusks        Southern clubshell                          Pleurobema decisum
Mollusks        Southern pigtoe                             Pleurobema georgianum
Mollusks        Tan riffleshell                             Epioblasma florentina walkeri
Mollusks        Triangular kidneyshell                      Ptychobranchus greenii
Mollusks        Upland combshell                            Epioblasma metastriata
Mollusks        Winged mapleleaf                            Quadrula fragosa
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 93 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                      Page 93
 Pesticide Group:                Trichlorfon
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians      Chiricahua leopard frog                                            Rana chiricahuensis
Birds           California condor                                                  Gymnogyps californianus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Fish            Bonytail chub                                                      Gila elegans
Fish            Colorado pikeminnow                                                Ptychocheilus lucius
Fish            Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish            Razorback sucker                                                   Xyrauchen texanus
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Ocelot                                                             Leopardus pardalis
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 94 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 94
 Pesticide Group:               Trifluralin
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Crustaceans    Alabama cave shrimp                                                Palaemonias alabamae
Crustaceans    Conservancy fairy shrimp                                           Branchinecta conservatio
Crustaceans    Nashville crayfish                                                 Orconectes shoupi
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
Mammals        Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 95 of 100
           Exhibit A: Species Listed by Pesticide Group                                                   Page 95
 Pesticide Group:              Trifluralin
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                    Latin Name
Mammals         Key Largo woodrat                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                        Ursus americanus luteolus
Mammals         Lower keys rabbit                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                      Dipodomys heermanni morroensis
Mammals         Ocelot                                      Leopardus pardalis
Mammals         Riparian brush rabbit                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                        Drymarchon couperi
Reptiles        Giant garter snake                          Thamnophis gigas
Reptiles        Sand skink                                  Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 96 of 100
          Exhibit A: Species Listed by Pesticide Group                                                                                   Page 96
 Pesticide Group:               Warfarin and salts
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                           Latin Name

Amphibians     Arroyo toad                                                        Bufo californicus
Amphibians     California tiger salamander (Central California DPS)               Ambystoma californiense (Central California DPS)
Amphibians     California tiger salamander (Santa Barbara County DPS)             Ambystoma californiense (Santa Barbara DPS)
Amphibians     Chiricahua leopard frog                                            Rana chiricahuensis
Amphibians     Frosted flatwoods salamander                                       Ambystoma cingulatum
Amphibians     Mississippi gopher frog (DPS)                                      Rana sevosa
Amphibians     Mountain yellow-legged frog (Southern California DPS)              Rana muscosa pop. 1
Amphibians     Puerto Rican crested toad                                          Peltophryne lemur
Amphibians     Reticulated flatwoods salamander                                   Ambystoma bishopi
Amphibians     San Marcos salamander                                              Eurycea nana
Amphibians     Santa Cruz long-toed salamander                                    Ambystoma macrodactylum croceum
Amphibians     Shenandoah Salamander                                              Plethodon shenandoah
Amphibians     Texas Blind Salamander                                             Eurycea rathbuni
Amphibians     Wyoming toad                                                       Bufo baxteri
Birds          Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds          California condor                                                  Gymnogyps californianus
Birds          California least tern                                              Sterna antillarum browni
Birds          Coastal California gnatcatcher                                     Polioptila californica californica
Birds          Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds          Florida scrub jay                                                  Aphelocoma coerulescens
Birds          Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds          Northern spotted owl                                               Strix occidentalis caurina
Birds          Piping plover                                                      Charadrius melodus
Birds          Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds          Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds          Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Fish           Alabama cavefish                                                   Speoplatyrhinus poulsoni
Fish           Alabama sturgeon                                                   Scaphirhynchus suttkusi
Fish           Atlantic salmon (Gulf of Maine DPS)                                Salmo salar pop. 5
Fish           Blue shiner                                                        Cyprinella caerulea
Fish           Bonytail chub                                                      Gila elegans
Fish           Bull trout (U.S. DPS)                                              Salvelinus confluentus (U.S. DPS)
Fish           Cape Fear shiner                                                   Notropis mekistocholas
Fish           Colorado pikeminnow                                                Ptychocheilus lucius
Fish           Desert pupfish                                                     Cyprinodon macularius+Cyprinodon eremus
Fish           Gulf sturgeon                                                      Acipenser oxyrinchus desotoi
Fish           North American green sturgeon (southern DPS)                       Acipenser medirostris (southern DPS)
Fish           Razorback sucker                                                   Xyrauchen texanus
Fish           Santa Ana sucker                                                   Catostomus santaanae
Fish           Shortnose sturgeon                                                 Acipenser brevirostrum
Fish           Topeka shiner                                                      Notropis topeka
Fish           Vermilion darter                                                   Etheostoma chermocki
Mammals        Amargosa vole                                                      Microtus californicus scirpensis
Mammals        Black-footed ferret                                                Mustela nigripes
Mammals        Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals        Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals        Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals        Florida panther                                                    Puma concolor coryi
Mammals        Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals        Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals        Giant kangaroo rat                                                 Dipodomys ingens
Mammals        Gray bat                                                           Myotis grisescens
Mammals        Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals        Indiana bat                                                        Myotis sodalis
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 97 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                   Page 97
 Pesticide Group:              Warfarin and salts
 Endangered Species That May Be Affected by This Chemical

 Taxa               Common Name                                                    Latin Name
Mammals         Key Largo cotton mouse                                      Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                           Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                        Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                        Ursus americanus luteolus
Mammals         Lower keys rabbit                                           Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                      Dipodomys heermanni morroensis
Mammals         Ocelot                                                      Leopardus pardalis
Mammals         Preble's meadow jumping mouse                               Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                       Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                      Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                         Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                      Dipodomys stephensi
Mammals         Tipton kangaroo rat                                         Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                         Trichechus manatus
Reptiles        Atlantic salt marsh snake                                   Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                         Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                  Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                   Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                        Drymarchon couperi
Reptiles        Giant garter snake                                          Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)   Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                  Neoseps reynoldsi
                  Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 98 of 100
           Exhibit A: Species Listed by Pesticide Group                                                                                   Page 98
 Pesticide Group:               Zinc Phosphide
 Endangered Species That May Be Affected by This Chemical

 Taxa                Common Name                                                           Latin Name

Birds           Audubon's crested caracara (Florida DPS)                           Caracara cheriway audubonii (Florida DPS)
Birds           California condor                                                  Gymnogyps californianus
Birds           California least tern                                              Sterna antillarum browni
Birds           Coastal California gnatcatcher                                     Polioptila californica californica
Birds           Florida grasshopper sparrow                                        Ammodramus savannarum floridanus
Birds           Florida scrub jay                                                  Aphelocoma coerulescens
Birds           Light-footed clapper rail (U.S. DPS)                               Rallus longirostris levipes
Birds           Northern spotted owl                                               Strix occidentalis caurina
Birds           Piping plover                                                      Charadrius melodus
Birds           Southwestern willow flycatcher                                     Empidonax traillii extimus
Birds           Western snowy plover (Pacific DPS)                                 Charadrius alexandrinus nivosus (Pacific DPS)
Birds           Wood stork (U.S. breeding DPS)                                     Mycteria americana (U.S. breeding DPS)
Mammals         Amargosa vole                                                      Microtus californicus scirpensis
Mammals         Black-footed ferret                                                Mustela nigripes
Mammals         Buena Vista Lake ornate shrew                                      Sorex ornatus relictus
Mammals         Carolina northern flying squirrel                                  Glaucomys sabrinus coloratus
Mammals         Columbian white-tailed deer (Columbia River DPS)                   Odocoileus virginianus leucurus (Columbia River DPS)
Mammals         Florida panther                                                    Puma concolor coryi
Mammals         Florida salt marsh vole                                            Microtus pennsylvanicus dukecampbelli
Mammals         Fresno kangaroo rat                                                Dipodomys nitratoides exilis
Mammals         Giant kangaroo rat                                                 Dipodomys ingens
Mammals         Gray bat                                                           Myotis grisescens
Mammals         Gray wolf (excluding Western Great Lakes & Northern Rockies DPS)   Canis lupus
Mammals         Indiana bat                                                        Myotis sodalis
Mammals         Key Largo cotton mouse                                             Peromyscus gossypinus pop. 1
Mammals         Key Largo woodrat                                                  Neotoma floridana smalli
Mammals         Killer whale (southern resident DPS)                               Orcinus orca (Southern resident population)
Mammals         Louisiana black bear                                               Ursus americanus luteolus
Mammals         Lower keys rabbit                                                  Sylvilagus palustris hefneri
Mammals         Morro Bay kangaroo rat                                             Dipodomys heermanni morroensis
Mammals         Ocelot                                                             Leopardus pardalis
Mammals         Preble's meadow jumping mouse                                      Zapus hudsonius preblei
Mammals         Riparian brush rabbit                                              Sylvilagus bachmani riparius
Mammals         Riparian woodrat (=San Joaquin Valley)                             Neotoma fuscipes riparia
Mammals         San Joaquin kit fox                                                Vulpes macrotis mutica
Mammals         Stephen's kangaroo rat                                             Dipodomys stephensi
Mammals         Tipton kangaroo rat                                                Dipodomys nitratoides nitratoides
Mammals         West Indian manatee                                                Trichechus manatus
Reptiles        Atlantic salt marsh snake                                          Nerodia clarkii taeniata
Reptiles        Bluetail mole skink                                                Eumeces egregius lividus
Reptiles        Blunt-nosed leopard lizard                                         Gambelia sila
Reptiles        Bog turtle (Northern DPS)                                          Glyptemys muhlenbergii (Northern DPS)
Reptiles        Desert tortoise (Mojave DPS)                                       Gopherus agassizii pop. 1
Reptiles        Eastern indigo snake                                               Drymarchon couperi
Reptiles        Giant garter snake                                                 Thamnophis gigas
Reptiles        Northern red-bellied cooter (Plymouth red-bellied cooter)          Pseudemys rubriventris pop. 1
Reptiles        Sand skink                                                         Neoseps reynoldsi
                 Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 99 of 100
                                                                                    Page	  1



                                                       Pesticide	  Group	  Membership
Pesticide	  Group                                     Chemical	  Name                           EPA	  Case	  No.   EPA	  PC	  Code

1,3-­‐Dichloropropene                                  1,3-­‐Dichloropropene                            0328               029001
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D                                          0073               030001
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  2-­‐ethylhexyl	  ester              0073               030063
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  butoxyethanol	  ester               0073               030053
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  choline	  salt                      0073               051505
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  diethanolamine	  salt               0073               030016
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  dimethylamine	  salt                0073               030019
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  isooctyl	  ester                    0073               030064
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  isopropyl	  ester                   0073               030066
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  isopropylamine	  salt               0073               030025
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  methylamine	  salt                  0073               030027
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  sodium	  salt                       0073               030004
2,4-­‐D,	  salts	  and	  esters                     2,4-­‐D,	  triisopropanolamine	  salt          0073               030035
Acephate                                               Acephate                                         0042               103301
Alachlor                                               Alachlor                                         0063               090501
Aldicarb                                               Aldicarb                                         0140               098301
Atrazine                                               Atrazine                                         0062               080803
Bensulide                                              Bensulide                                        2035               009801
Brodifacoum                                            Brodifacoum                                      2755               112701
Bromadiolone                                           Bromadiolone                                     2760               112001
Bromethalin                                            Bromethalin                                      2765               112802
Captan                                                 Captan                                           0120               081301
Carbaryl                                               Carbaryl                                         0080               056801
Chlorophacinone                                        Chlorophacinone                                  2100               067707
Chlorothalonil                                         Chlorothalonil                                   0097               081901
Chlorpyrifos                                           Chlorpyrifos                                     0100               059101
Cypermethrin	  isomer	  mixtures                     Cypermethrin                                     2130               109702
Cypermethrin	  isomer	  mixtures                     Z-­‐Cypermethrin                                 2130               129064
Dazomet                                                Dazomet                                          2135               035602
Diazinon                                               Diazinon                                         0238               057801
Dicamba	  and	  salts                                Dicamba                                          0065               029801
Dicamba	  and	  salts                                Dicamba,	  diethanolamine	  salt               0065               029803
Dicamba	  and	  salts                                Dicamba,	  diglycolamine	  salt                0065               128931
Dicamba	  and	  salts                                Dicamba,	  dimethylamine	  salt                0065               029802
Dicamba	  and	  salts                                Dicamba,	  isopropylamine	  salt               0065               128944
Dicamba	  and	  salts                                Dicamba,	  potassium	  salt                    0065               129043
Dicamba	  and	  salts                                Dicamba,	  sodium	  salt                       0065               029806
Dichlorprop	  (2,4-­‐DP),	  salts	  and	  esters   2-­‐(2,4-­‐DP),	  dimethylamine	  salt         0294               031419
Dichlorprop	  (2,4-­‐DP),	  salts	  and	  esters   2,4-­‐DP-­‐P,	  dimethylamine	  salt           0294               031403
Dichlorprop	  (2,4-­‐DP),	  salts	  and	  esters   2,4-­‐DP-­‐P,	  isooctyl	  ester               0294               031465
Dichlorprop	  (2,4-­‐DP),	  salts	  and	  esters   2,4-­‐DP,	  diethanolamine	  salt              0294               031416
Dichlorprop	  (2,4-­‐DP),	  salts	  and	  esters   Dichlorprop-­‐P                                  0294               031402
Dimethoate                                             Dimethoate                                       0088               035001
Diphacinone	  and	  salts                            Diphacinone                                      2205               067701
Diphacinone	  and	  salts                            Diphacinone,	  sodium	  salt                   2205               067705
Diuron                                                 Diuron                                           0046               035505
Ethoprop                                               Ethoprop                                         0106               041101
Malathion                                              Malathion                                        0248               057701
Mancozeb                                               Mancozeb                                         0643               014504
MCPA,	  salts	  and	  esters                        MCPA                                             0017               030501
              Case 3:11-cv-00293-JCS Document 198-1 Filed 01/21/14 Page 100 of 100
                                                                                  Page	  2



MCPA,	  salts	  and	  esters                         MCPA,	  2-­‐ethyl	  hexyl	  ester      0017   030564
MCPA,	  salts	  and	  esters                         MCPA,	  dimethylamine	  salt            0017   030516
MCPA,	  salts	  and	  esters                         MCPA,	  isooctyl	  ester                0017   030563
MCPA,	  salts	  and	  esters                         MCPA,	  sodium	  salt                   0017   030502
Methomyl                                                Methomyl                                  0028   090301
Metolachlor	  and	  isomers                           Metolachlor                               0001   108801
Metolachlor	  and	  isomers                           Metolachlor,S                             0001   108800
Metribuzin                                              Metribuzin                                0181   101101
Naled                                                   Naled                                     0092   034401
Oxydemeton-­‐Methyl                                     Oxydemeton-­‐Methyl                       0258   058702
Oxyfluorfen                                             Oxyfluorfen                               2490   111601
Paraquat	  dichloride                                  Paraquat	  dichloride                    0262   061601
Pendimethalin                                           Pendimethalin                             0187   108501
Permethrin                                              Permethrin                                2510   109701
Phorate                                                 Phorate                                   0103   057201
Phosmet                                                 Phosmet                                   0242   059201
Profenofos                                              Profenofos                                2540   111401
Propanil                                                Propanil                                  0226   028201
Propargite                                              Propargite                                0243   097601
S,S,S-­‐tributyl	  phosphorotrithioate	  (Tribufos)   S,S,S-­‐tributyl	  phosphorotrithioate   2145   074801
Simazine                                                Simazine                                  0070   080807
Terbufos                                                Terbufos                                  0109   105001
Thiobencarb                                             Thiobencarb                               2665   108401
Thiophanate-­‐methyl                                    Thiophanate-­‐methyl                      2680   102001
Trichlorfon                                             Trichlorfon                               0104   057901
Trifluralin                                             Trifluralin                               0179   036101
Warfarin                                                Warfarin                                  0011   086002
Zinc	  Phosphide                                       Zinc	  Phosphide                         0026   088601
